                                                                      Case 2:17-cv-01459-SPL Document 75 Filed 12/26/17 Page 1 of 3




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                                                                NAVIENT CORPORATION AND
                                                            7   NAVIENT SOLUTIONS, LLC
                                                            8                            IN THE UNITED STATES DISTRICT COURT
                                                            9                    FOR THE DISTRICT OF ARIZONA – PHOENIX DIVISION
                                                           10
                                                           11   KARI ASLAMY,                                      Case No.: 2:17-cv-01459-PHX-SPL
              TEL.: (303) 260-7712 – FAX: (303) 260-7714
               1900 SIXTEENTH STREET, SUITE 1700




                                                           12                      Plaintiff,
                    DENVER, COLORADO 80202




                                                                                                                  STIPULATION OF DISMISSAL WITH
                                                           13   vs.                                               PREJUDICE
AKERMAN LLP




                                                           14   NAVIENT CORPORATION; and
                                                                NAVIENT SOLUTIONS, INC. (nka
                                                           15   NAVIENT SOLUTIONS, LLC),                          FAC Filed:       September 5, 2017
                                                                                                                  Complaint Filed: April 13, 2017
                                                           16                      Defendants.                    Trial Date:      None
                                                           17                The parties, through undersigned counsel, hereby stipulate to the dismissal of this
                                                           18   case with prejudice, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), with each party to bear
                                                           19   their own fees and costs.
                                                           20                RESPECTFULLY SUBMITTED this 26th day of December, 2017.
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                                                                                            STIPULATION OF DISMISSAL WITH PREJUDICE
                                                                43676318;1
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                                                            7                                       SOLUTIONS, LLC
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                                                           12                                       Pro Se Plaintiff
                    DENVER, COLORADO 80202




                                                                                                    *Permission to add electronic signature
                                                           13
AKERMAN LLP




                                                                                                    granted via e-mail December 26, 2017.
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                                                                                    STIPULATION OF DISMISSAL WITH PREJUDICE
                                                                43676318;1
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                                                            1                               CERTIFICATE OF SERVICE
                                                            2        I hereby certify that on December 26, 2017, I electronically transmitted the attached
                                                                document to the Clerk's Office using the CM/ECF System for filing.
                                                            3
                                                            4         I hereby certify that on December 26, 2017, I served the attached document by U.S.
                                                                Mail on the following, who is also a registered pro se participant of the CM/ECF System:
                                                            5
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                                                                                                                  /s/ Nick Mangels
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                                                           12                                                     Nick Mangels
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AKERMAN LLP




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                                                                                                CERTIFICATE OF SERVICE
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